       Case 1:12-cv-01904-RDB Document 1-8 Filed 06/27/12 Page 1 of 1




From: Hitchcock, Claude Edward [mailto:CHITCHCOCK@gfrlaw.com]
Sent: Friday, July 20, 2007 12:28 PM
To: Frank, Andrew
Cc: Dan Bythewood
Subject: Poppleton

Have you had an opportunity to follow up our recent meeting regarding Poppleton. We are anxious to
start the interview and hiring processes aimed at assisting the City with the condemnation cases but
have been advised that there is a two week process just to clear some contracting forms that we need
in order to prepare our contracts. Why does this stuff take so long?

 Were you able to determine why so few properties have been purchased by the City.

While I may appear impatient, I am oniy concerned about giving Murphy's Law too much time to raise it
ugly head.


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                                                                          Exhibit 7 to
                                                                          Verified Complaint
